                                                       Exhibit 7


Jake Doran

From:                            Justin Winch <justin.winch@winchlawfirm.com>
Sent:                            Monday, November 20, 2023 9:29 AM
To:                              Jake Doran
Cc:                              Alexis Chapital
Subject:                         Washington Discovery Responses
Attachments:                     231118__Plaintiff Washington Responses to Interrogatories and Requests from
                                 Safepoint_signed.pdf

Importance:                      High


Jake,
Please see a ached, and thank you very much for the courtesies in allowing me to get these to you. Also, Mr.
Washington reviewed and signed these over the weekend, and there was not a notary immediately available. I will get
you a notarized signature page today. Please accept his esigned veriﬁca on for now, let me know if this is an issue.

In apprecia on of your courtesies, and because there are some ques ons regarding intent and interpreta on of the
Defendant’s interrogatories and other requests (see objec ons) I am making available my me this week, to host a meet
and confer to keep everything moving forward and mely. Please let me know, and we can also go over during the meet
and confer, the Plain ﬀ’s deposi on no ce, if there were objec ons to it, and any other outstanding discovery items,
and take care of all such ma ers at the same me.

Thank you again,
Jus n

Sincerely,



Jus n L. Winch, Esq.
504.214.3400 Phone
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jus n.winch@winchlawﬁrm.com Email

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